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Exhibit C_
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ROBOTICS HUB FUND 1, LLC

COMMON UNIT AWARD AGREEMENT

_ The Board, as defined in the Amended and Restated Operating Agreement of Robotics
Hub Fund [, LLC, a Delaware limited liability company (the “Company”), dated as of March
23, 2016, as amended (the “LLC Agreement”), has decided to grant to you Common Units in
the Company pursuant to Section 3.2 of the LLC Agreement. The terms of the grant (the
“Grant”) are set forth in this Common Unit Award Agreement (the “Award Agreement”)
provided to you. The following provides a summary of the key terms of the Grant; however, you
should read the entire Award Agreement, along with the terms of the LLC Agreement to fully

“understand the Grant.

SUMMARY OF AWARD AGREEMENT

Grantee: Erie Daimler
Date of Award: March 23, 2016
“Vesting Schedule: 20% vests on the date when the Grantee has

provided 12 consecutive and uninterrupted
months of Full Time Services to the
Company Group, provided that Grantee
must begin providing such Full Time
Services to the Company Group neo later
than the first anniversary of the Date of
Award

Provided the above conditions are met, the
remaining 80% vests on a pro-rata basis on
the last day of each month thereafter until
the fifth anniversary of the Date of Award

Common Units Awarded: 42 Common Units

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ROBOTICS HUB FUND 1, LLC

COMMON UNIT AWARD AGREEMENT

This Common Unit Award Agreement (this “Award Agreement”), dated as of March
23, 2016 (the “Effective Date”), is delivered by Robotics Hub Fund |, LLC, a Delaware limited
liability company (the “Company”), to Eric Daimler (the “Grantee”).

RECITALS,

A, The Company was duly formed for the primary purpose of serving as the general
partner of Robotics Hub Fund |, LP, a Delaware limited partnership (the “Fund”), which invests
in early-stage robotics companies.

B. The Amended and Restated Operating Agreement of Robotics Hub Fund 1, LLC,
a Delaware limited liability company (the “Company”), dated as of March 23, 2016, as amended
(the “LLC Agreement”), provides for the grant of Common Units in the Company pursuant to
Section 3.2 of the LLC Agreement. The Board (as defined in the LLC Agreement) has granted
the Award (as defined beiow) to encourage the Grantee to contribute materially to the growth of
the Company, and to align the economic interests of the Grantee with those of the Company’s
owners. A copy of the LLC Agreement is attached hereto as Exhibit A. All capitalized terms
not defined herein shall have the meaning given to such terms in the LLC Agreement.

NOW, THEREFORE, the parties to this Award Agreement, intending to be legally
bound, hereby agree as follows:

1. Grant of Management Incentive Award. Subject to the terms and conditions set forth
in this Award Agreement and the LLC Agreement, the Company hereby grants to the Grantee
forty-two (42) Common Units (the “Award”). This Award Agreement (which is effective as of
the Effective Date upon the parties’ exchange of signed counterpart signature pages hereto) and
the LLC Agreement govern the terms of the grant of the Award.

2, Vesting of Awarded Common Units.

(a) Unless otherwise determined by the Board, the Award shall vest in accordance
with the following schedule (each date described below, a “Vesting Date”), if the Grantee is
employed by or otherwise providing greater than 95% of his professional activities, as
determined in the sole discretion of the Board (collectively, “Full Time Services”), to a
combination of the Company, the Fund and the investment manager of the Fund (including
services provided to portfolio companies of the Fund in the Grantee’s capacity as an employee of
the investment manager) (collectively, the “Company Group”) on the applicable Vesting Date.

Vesting Date Common Units Vested

The date when the Grantee has provided 12
consecutive and uninterrupted months of Full Time
Services to the Company Group; provided that the

Grantee must begin providing such Full Time _

20% of the Award

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Services to the Company Group no later than the first
anniversary of the Effective Date, otherwise the
Award shall be forfeited in its entirety

On the last day of each month following the vesting | Pro-rated percentage of the remaining
of the first 20% of the Award, until March 23, 202] amount of the Award

{b) Upon termination of providing Full Time Services of the Grantee to the Company
Group at any time for Cause (as defined below), any portion of the Award that is vested shall be
subject to a repurchase right as set forth in Section 3 of this Award Agreement. Any portion of
the Award that is unvested shalt be forfeited at the time of the termination of Full Time Services
of the Grantee to the Company Group for any reason (including for Cause),

3. Repurchase Right and Forfeiture,

(a) Termination of Full Time Services — Unyested Common Units. Any and all of a
Grantee’s unvested Common Units shalt be forfeited upon the termination of the Grantee’s Full

(b) Termination of Full Time Services — Vested Common Units. Upon termination of
the Grantee’s Full Time Services to the Company Group for Cause (as defined below), the
Company shall have a right to repurchase any vested Common Units from such Grantee
thereafter for an amount equal to the amount that would be allocated to such Grantee’s Common
Units if the Company were liquidated on the date the Common Units were issued at Fair Market
Value (as determined in good faith by the Board). For purposes of this Award Agreement,
“Cause” shall have the meaning set forth in the written employment agreement between the
Grantee and the Company in effect on the date of the termination of Grantee's Full Time
Services, or if no such agreement exists, shall mean any of the following: (i) willful misconduct,
intentional failure to perform duties, or fraud, embezzlement or other misappropriation of funds
or property of the Company or any of its subsidiaries; (ii) the commission of acts that constitute a
felony; (iii) the conviction of a crime involving any financial impropriety or moral turpitude, that
would materially interfere with the ability to perform services or that otherwise would be
materially injurious to the Company or any of its subsidiaries; or (iv) the material breach of any
material obligations or covenants with the Company after notice and a reasonable opportunity to
cure with respect to any breach reasonably susceptible to a cure.

(c) Repurchase Rights. Upon the determination by the Company to exercise its
- tepurchase right set forth in Section 3(b) of this Award Agreement, the Company shall provide

(dq) Fair Market Value. For purposes of this repurchase right as set forth in Section 3
of this Award Agreement, “Fair Market Value” means such determination of the valuation of the

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Company, any Units, or Company property as reasonably determined by the Board. For purposes
of clarity, except as otherwise set forth herein, the Fair Market Value of a Unit as of any date
shall be the amount that would have been distributed with respect to such Unit upon the
consummation of a dissolution and liquidation of the Company pursuant to Article 11 of the LLC
Agreement on such date if the proceeds from such liquidation were distributed to the Members.

4, Issuance of Common Units.

(a) ‘The obligation of the Company to deliver the Common Units shal] be subject to
all applicable laws, rules, and regulations and such approvals by governmental agencies as may
be deemed appropriate by the Board, including such actions as Company counsel shall deem
necessary or appropriate to comply with relevant securities laws and reguiations.

(b) All obligations of the Company under this Agreement shall be subject to the
tights of the Company to withhold amounts required to be withheld for any taxes, tf applicable.

(c) The Grantee shall receive allocations and distributions of the Company’s profits
and losses based upon the terms of the LLC Agreement.

(d) The Grantee hereby agrees to make a timely and effective election under Code
Section 83(b) with respect to his Common Units and agrees to provide a copy to the Company.

. (e) In accordance with the finally promulgated successor rules to Proposed
Regulations Section 1.83-3(1) and IRS Notice 2005-43, the Grantee hereby authorizes and directs
the Company to elect a safe harbor under which the Fair Market Value of any Common Units
issued after the effective date of such Proposed Regulations (or other guidance) will be treated as
equal to the liquidation value (within the meaning of the Proposed Regulations or successor
tules) of the Common Units as of the date of issuance of such Common Units. In the event that
the Company makes a safe harbor election as described in the preceding sentence, the Grantee
hereby agrees to comply with all safe harbor requirements with respect to transfers of.
Membership Interests while the safe harbor election remains effective.

5. Change in Control.

(a) In the event the Company undergoes a Change in Control, all Common Units
_ which are not vested at the time of the Change in Control! shall vest in full, effective immediately
prior to the consummation of the Change in Control, and a Grantee shall have the right to receive
any distributions on account of such vested Common Units as set forth to the LLC Agreement.

(b) For purposes of the Award, “Change in Control” means a change in ownership or
control of the Company effected through any of the following transactions: (i) a merger,
consolidation or other reorganization approved by the Company’s equity holders, unless
securities representing. more than 50% of the total combined voting power of the voting
securities of the successor entity are immediately thereafter beneficially owned, directly or
indirectly, and in substantially the same proportion, by the persons who beneficially owned the
Company’s outstanding voting securities immediately prior to such transaction; (ti) a sale,
transfer or other disposition of all or substantially all of the Company’s assets in liquidation or
dissolution of the Company approved by the Company’s equity holders; or (iit) the acquisition,

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directly or indirectly, by any person or related group of persons (other than the Company or a
person that directly or indirectly controls, is controlled by, or is under common control with, the
Company), of beneficial ownership (within the meaning of Rule 13d-3 of the Securities
Exchange Act of 1934) of securities possessing more than 50% of the total combined voting

- power of the Company’s outstanding securities pursuant to a purchase transaction or a tender or
exchange offer made directly to the Company’s equity holders.

6. Transfer; Repurchase Right. As a condition of receiving the Award, the Grantee
hereby agrees that any Common Units issued hereby shall be subject to the transfer restrictions
and repurchase rights described herein in the LLC Agreement.

7. Limited Liability Company Obligations. As a condition of receiving the Award, the
Grantee hereby agrees to sign all required documents and take any actions as deemed appropriate
by the Board to comply with relevant laws, rules, and regulations.

8. Restrictions on Transfer. Only the Grantee has any rights under this Award. The
Grantee may not transfer those rights, directly or indirectly, except by wil! or the laws of descent
and distribution.

9, Award Subject to LLC Agreement Provisions. This Award is made pursuant to the
LLC Agreement, the terms of which are incorporated herein by reference, and in all respects
shall be interpreted in accordance with the LLC Agreement. The Board shall have the full power
and authority to administer and interpret this Award Agreement, to make factual determinations,
and to adopt or amend such rales, regulations, agreements, and instruments for implementing the
LLC Agreement and for the conduct of its business as it deems necessary or advisable. All
powers of the Board shall be executed without the approva! or consent of the Grantee.

10.  NoEmployment Rights. The grant of this Award shall not confer upon the Grantee any —
right to be retained by or in the employ or service of the Company and shall not interfere in any
way with the right of the Company to terminate the Grantee’s employment or service at any
time. The right of the Company, as applicable, to terminate at will the Grantee’s employment or
service at any time for any reason is specifically reserved.

11. Notice. Any notice, demand or communication required or permitted to be given by any
provision of this Award Agreement will be in writing and will be deemed to have been given
when actually received. Any such notice, demand or communication may be given by overnight
courier, email or certified mail (return receipt requested) and will be addressed to Grantee at the
address set forth on the signature page to this Award Agreement, and/or to the Company at its
principal office or to such other address as a party may from time to time designate by notice to
the other parties.

12, Amendment and Termination. The Board may amend or terminate this Award
Agreement at any time; provided, however, that the Board may not make any amendment to this
Award Agreement or to this Award that would materially and adversely affect any Grantee of
issued and outstanding Common Units without the express written consent from any such
affected Grantee.

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13. Headings. Section headings in this Awatd Agreement are for reference only. In the
event of a conflict between a section heading and the content of a section, the content of the
section shall control.

14, Applicable Law. The validity, construction, interpretation and effect of this Award
Agreement shall be governed by and construed in accordance with the laws of the State of
Delaware, without giving effect to the conflicts of laws provisions thereof.

[Signature page follows]
IN WITNESS WHEREOF, the Company has caused its duly authorized officer to
execute this Award Agreement, and the Grantee has executed this Award Agreement, effective
as of the Effective Date.

ROBOTICS HUB FUND 1, LLC

Key OPP ah

By: Oey et OE,

mé: Christopher Moehle
Title: Manager

Thereby accept the Award described in this Award Agreement, and I agree to be bound by the
terms of this Award Agreement and the LLC Agreement. I hereby further agree that all of the
decisions and determinations of the Board shall be final and binding.

7 * “
Eric Dairater

Grantee Address:

$61-2nd St-#G6c
Sar-Francisee Gx
94404
1592 Union St. #55
San Francisco, CA 94123
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Exhibit A
Amended and Restated Operating Agreement of Robotics Hub Fund 1, LLC

See attached.

